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      GOOGLE LLC’S
    NOTICE OF MOTION
     AND MOTION FOR
         RELIEF
       REGARDING
      PRESERVATION

   Redacted Version of
   Document Sought to
       be Sealed
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20
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
21
   CHASOM BROWN, WILLIAM BYATT,                   Case No. 4:20-cv-03664-YGR-SVK
22 JEREMY DAVIS, CHRISTOPHER
   CASTILLO, and MONIQUE TRUJILLO,                GOOGLE LLC’S NOTICE OF MOTION
23 individually and on behalf of themselves and   AND   MOTION     FOR    RELIEF
   all others similarly situated,                 REGARDING PRESERVATION
24
                   Plaintiffs,                    Referral:       Hon. Susan van Keulen, USMJ
25                                                Hearing Date:   November 22, 2022
           vs.                                    Time:           10:00 a.m.
26                                                Crtrm.:         6 – 4th Floor___
   GOOGLE LLC,
27
                   Defendant.
28

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 1    NOTICE OF MOTION AND MOTION FOR RELIEF REGARDING PRESERVATION

 2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE, on November 22nd at 10:00 a.m., or as soon thereafter as this

 4 motion may be heard in the above-entitled court, before the Honorable Susan Van Keulen of the

 5 United States District Court, Northern District of California at Courtroom 6 – 4th Floor, 280 South

 6 1st Street, San Jose, California, Defendant Google LLC (“Google”) will and hereby does move the

 7 Court for relief from the Court’s May 20, 2022 (Dkt. 587) and August 5, 2022 Preservation Orders

 8 (Dkt. 657) (collectively, the “Preservation Orders”).

 9          Google’s Motion is based on this Notice of Motion and Motion; the accompanying

10 Memorandum of Points and Authorities; the concurrently filed Declarations of Larry Greenfield

11 (“Greenfield Decl.”), Benjamin Kornacki (“Kornacki Decl.”), Julian Kranz (“Kranz Decl.”), Joshua

12 Halstead (“Halstead Decl.”), Patrick Quaid (“Quaid Dec.”), Daryl Seah (“Seah Decl.”), Srilakshmi

13 Pothana (“Pothana Decl.”), and Tracy Gao (“Gao Decl.”); all matters of which the Court may take

14 judicial notice; other pleadings and papers on file in this action; and other written or oral argument

15 that Google may present to the Court.

16                                       RELIEF REQUESTED

17          Google respectfully seeks relief from preservation of                     linking tables and

18       Analytics mapping tables.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.       INTRODUCTION

 3          Google has worked tirelessly to comply with this Court’s May 20, 2022 and August 5, 2022

 4 Preservation Orders (“Preservation Orders”) and has successfully identified and preserved an

 5 enormous quantity of data. Indeed, to date, it has spent considerable resources designing and

 6 implementing pipelines for daily sampled preservation of more than 40 data sources including logs

 7 from            Ads,           Analytics,         , UMA, and Chrome Sync; GAIA              , DBL     ; and

 8 mapping and linking tables. Taken together, Google anticipates that the implementation of all parts

 9 of the Court’s Preservation Orders that it is not seeking relief from below will require it to store

10 approximately                                                 of data in the first year alone. Greenfield

11 Decl. ¶ 8; Pothana Decl. ¶ 4; see infra at n.7.

12          Against this immense burden, Google seeks relief regarding preservation of only

13 mapping or linking tables (                       and     Analytics tables) whose preservation would

14 impose a disproportionate burden on Google with minimum benefit.                     In particular,

15                 tables store approximately                of data per day. Seah Decl. ¶ 5. Preserving

16 these tables would require storage of over                                           over the course of a

17 single year. Id. These tables contain links that are derived from other tables that are being separately

18 preserved. Id. In light of these new facts, there is no valid reason for Google to have to undergo
19 the burdens and expense of preserving these         tables.

20          The       Analytics tables from the preservation of which Google seeks relief presently

21 contain over                   of data; preserving them requires approximately

22                        over the course of a single year. Pothana Decl. ¶¶ 5, 7. These tables are not

23 needed to work with the preserved data because the                 Analytics logs subject to preservation

24 already contain the mappings between UID/CID to Biscotti. Id. ¶¶ 5-6. The cost of storing data

25 from these six tables separately would total approximately                   in one year,                in

26 two years, and                  if preservation continues for three years. Greenfield Decl. ¶¶ 12, 14.

27 Not only is this data irrelevant to Plaintiffs’ claims and alleged damages, but the burdens of

28 preserving it are disproportionate to any purported benefit.

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 1           In addition, heeding this Court’s admonition to bring issues to the Court and not to engage

 2 in “self-help,” Google transparently identifies in this motion the criteria it is applying to comply

 3 with the Court’s Orders to preserve “all mapping and linking tables.” These criteria are fully

 4 consistent with the Court’s statements at the August 4, 2022 hearing as well as its Preservation

 5 Orders. As detailed below, any other interpretation would be unreasonable and subject Google to a

 6 variety of unwarranted and disproportionate preservation burdens. 1

 7 II.       PROCEDURAL AND FACTUAL BACKGROUND

 8           On April 4, 2022, the Special Master submitted a recommended preservation plan, which

 9 did not include a requirement for Google to preserve mapping or linking tables. See Dkt. 524. The

10 Court adopted this requirement on May 20, 2022 in response to Plaintiffs’ objections to the Special

11 Master’s preservation plan. See Dkt. 587 at 8.

12           On July 27, 2022, Google confirmed that it was preserving the                 mapping table,

13 the only mapping table Plaintiffs had ever identified as potentially relevant. Dkt. 641-3 at 1.

14 However, at a joint hearing on August 4, 2022 on this matter and the related Calhoun case, the Court

15 stated that the Order was not limited to the                     mapping table, but instead requires

16 preservation of “all mapping tables.” Google explained that the lack of a clear definition of

17 “mapping table” potentially impeded Google’s compliance with the Court’s Orders. See Gao Decl.

18 Ex. 1 (8/4/22 Hr’g Tr.) at 101:1-102:16. The Court responded that “the language that the Court
19 found determinative was that for the – the mapping tables are preserved in the ordinary course, and

20 I took that as not a – not a big ask and – a mapping table is – is what it is. I mean it is mapping the

21 IDs … It is the mapping tables that … relate to the logs and fields that – that the parties have worked

22 with so intimately over these last 18 months. I don’t think it can be any more clear.” Id. at 104:5-

23 15. The Court also explained that “if you would need a mapping table to work with any of the data

24 that is being exchanged in this case, that table has to be preserved.” Id. at 106:16-18. The Calhoun

25 Plaintiffs expressed a concern regarding the Court’s description of the requirement as relating to

26

27   1Google has contemporaneously filed a Motion for Relief Regarding Preservation in Calhoun,
   which includes a similar request for relief from preservation of the  mapping/linking tables
28 discussed herein.

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 1 “the data in this case,” and the Court responded: “I think my order again is perfectly clear … If it

 2 doesn’t relate to the data in this case, it is never going to come up. If it relates to the data in this

 3 case, it does.” Id. at 107:3-8. The Calhoun Plaintiffs again expressed concern, and the Court

 4 responded “That’s fine. That’s fine. It’s all mapping tables.” Id. at 107:13-14. The Court’s August

 5 5, 2022 Order stated that “Preservation Orders require Google to preserve all mapping and linking

 6 tables.” Dkt. 657 at 7 (emphasis in original).

 7           Consistent with the Court’s Preservation Orders and statements at the August 4 hearing,

 8 Google conducted an extensive investigation to identify and preserve “all mapping and linking

 9 tables.” Google investigated tables maintained by the teams that work with the Ads and Analytics

10 data stored in the            Ads, Analytics,             , UMA, and               logs, and GAIA and

11 DBL        subject to the Preservation Orders. Seah Decl. ¶¶ 2-4; Pothana Decl. ¶¶ 2-3. Based on

12 these investigations, Google has identified and will preserve           tables that contain a mapping or

13 linking of user or device identifiers that are subject to preservation in one of the sources identified

14 in the Preservation Orders. Seah Decl. ¶ 4; Pothana Decl. ¶ 3. In the ordinary course, these tables

15 are stored anywhere from                     . Seah Decl. ¶ 4. This is in addition to the more than

16 data sources Google is already preserving.

17           In addition, Google examined the documents and testimony on which the Plaintiffs here and

18 in the related Calhoun matter relied to justify their request for preservation of this information. For
19 instance, at the August 4 hearing, when Google raised concerns about the meaning of the language

20 “all mapping and linking tables,” the Calhoun Plaintiffs referred to mappings between identifiers

21 that they contend exist at Google, based on documents Google produced . See Gao Decl. Ex. 1

22 (8/4/22 Hr’g Tr.) at 103:14-25. Google is preserving all of those tables to the extent they exist. 2

23 Additionally, Google analyzed the evidentiary record in this case to identify instances in which

24 mapping or linking tables were addressed in depositions or produced documents. As an example,

25

26   2 During the August 4 hearing, the Calhoun Plaintiffs referred to a “Biscotti to GAIA” mapping
27 (id. at 103:18), but no such mapping exists. The documents from which the Calhoun Plaintiffs
   quoted describe only a proposed system that Google never implemented. Seah Decl. ¶ 7. Google
28 cannot preserve a table that does not exist.

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 1 Google has identified and is preserving tables that link Customer Relationship Management

 2 (“CRM”) IDs to Biscotti IDs, as discussed in the deposition of Google’s Rule 30(b)(6) representative

 3 Glenn Berntson. Gao Decl. Ex. 2 (3/18/22 Dep. Tr.) 133:18–135:10.

 4           Among the tables Google has identified for preservation, two categories are particularly

 5 burdensome to preserve. The first category consists of          “linking tables” that relate to the project

 6 known internally at Google as                      3 and contain links that are derived from other tables


 7 that are being separately preserved. Seah Decl. ¶ 5. The second category includes               tables that

 8 contain mappings of identifiers relating to the Google Analytics product. Pothana Decl. ¶ 5. These

 9 tables are not needed to work with the preserved data because the Analytics logs subject to

10 preservation already contain the mappings between UID/CID to Biscotti, id. ¶ 6, and Plaintiffs

11 would not need the additional mappings between UID/CID to device ID to read the Analytics data.

12           As illustrated below, preserving these        tables will require enormous amounts of data

13 storage at a staggering cost, which is in addition to the other preservation costs Google is already

14 incurring:

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     3                                                                                                   Gao
28 Decl. Ex. 3 (GOOG-CABR-03652751) at -752.

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 1 Table 1

 2       Categories of            Estimated data after Estimated data after Estimated data after
         preserved data           one year             two years            three years
 3
                            and
 4       Analytics Tables
 5       All other preserved
         Data
 6

 7 Seah Decl. ¶ 5; Pothana Decl. ¶¶ 4, 5, 7; Greenfield Decl. ¶ 8.

 8

 9

10

11   4                         . See Seah Decl. ¶ 5 (estimating preservation of the
12 tables would require storage of over             per year); Pothana Decl. ¶ 7 (estimating snapshots
   of the    Analytics tables would require storage of more than                 per year).
13 5
                                 .
14 6                               .
15   7   The                                             equals the sum of: (1)                  of data stored
     currently in           Ads sampling pipelines; (2)             of estimated additional data written daily
16   into           Ads sampling pipelines * 365 days; (3)                 of data stored currently in
     Analytics sampling pipelines; (4)             of estimated additional data written daily into
17
     Analytics sampling pipelines * 365 days; (5)                of data stored currently in          sampling
18   pipelines; (6)           of estimated additional data written daily into            sampling pipelines *
     365 days; (7)            of data stored currently in UMA sampling pipelines; (8)              of estimated
19   additional data written daily into UMA sampling pipelines * 365 days; (9)                   of data stored
     currently in           ChromeSync sampling pipelines; (10)                  of estimated additional data
20   written daily into           ChromeSync sampling pipelines * 365 days; (11)                   of estimated
     additional data written daily into DBL and GAIA            sampling preservation pipelines * 365 days;
21
     (12)               of data stored currently in the mapping/linking tables in            that are subject to
22   preservation; (13)               of estimated additional data written daily into the mapping/linking
     tables in         * 365 days; (14)               of data stored currently in the mapping/linking tables
23   in     that are subject to preservation; (15)           of data written daily into the mapping/linking
     tables in     * 365 days; (16)                 of estimated data required to store the mapping/linking
24   tables maintained by the Analytics team that are subject to preservation.
25   8The                                           is derived on the basis of the numbers in footnote 7
   with the following equation:           +    *365*2+       + *365*2+           +    *365*2+       +
26    *365*2+ + *365*2+                *365*2+       +       *365*2+        + *365*2+              *2.
27   9The                                           is derived on the basis of the numbers in footnote 7
   with the following equation:           +   *365*3+       + *365*3+           +    *365*3+       +
28    *365*3+ + *365*3+                *365*3+       +       *365*3+        +     *365*3+          *3.

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 1 Table 2

 2    Categories            of Approximate total Approximate total Approximate total
      preserved data           cost after one year cost after two years cost after three years
 3
                          and
 4    Analytics Tables
 5    All other preserved
      data
 6

 7 Greenfield Decl. ¶¶ 9, 12, 14.

 8 III.      ARGUMENT
 9           A.      Limited Relief From The Court’s Order Regarding Preservation Of “All
                     Mapping And Linking Tables” Is Warranted
10
             In evaluating preservation disputes, this Court has rightly applied the proportionality
11
     principle embodied in Federal Rule of Civil Procedure 26 to determine whether the preservation
12
     sought is relevant and proportional to the litigation. 10 Lord Abbett Mun. Income Fund, Inc. v. Asami,
13
     2014 WL 5477639, at *3 (N.D. Cal. Oct. 29, 2014) (“This district recognizes that the proportionality
14
     principle applies to the duty to preserve potential sources of evidence.”); Fed. R. Civ. P. 37(e) Adv.
15
     Comm. Notes (2015) (“perfection in preserving all relevant electronically stored information is often
16
     impossible”). In so doing, the Court has sought to “strike an appropriate and necessary balance
17
     between the need to preserve relevant data in an immense universe of data, without imposing undue
18
     burden and with careful consideration for the practical challenges to both Parties to manage vast
19
     data sets.” Dkt. 587 at 6. The Court’s requirement to “limit discovery if the burden or expense of
20
     the proposed discovery outweighs its likely benefit” is “the essence of proportionality.” Apple Inc.
21
     v. Samsung Elecs. Co., 2013 WL 4426512, at *3 (N.D. Cal. Aug. 14, 2013). As demonstrated below,
22

23
   10 Federal Rule of Civil Procedure 26 cites to six non-dispositive factors:“[i] the importance of the
24 issues at stake in the action, [ii] the amount in controversy, [iii] the parties’ relative access to relevant
   information, [iv] the parties’ resources, [v] the importance of the discovery in resolving the issues,
25
   and [vi] whether the burden or expense of the proposed discovery outweighs its likely benefit.” Fed.
26 R. Civ. P. 26(b)(1). Google does not address the first and second factors at length; the parties clearly
   vigorously dispute the importance of the issues at stake and the amount in controversy. With respect
27 to the third factor, although Plaintiffs only have access to some of the mappings/linkings for their
   own activity and devices, preservation of these tables is unwarranted in light of the disproportionate
28 burdens and limited utility.

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 1 this proportionality principle compels granting Google’s requests for relief.

 2                 1.      The Burden And Expense Of Preserving The                   Tables
                           And The      Analytics Tables Outweighs Any Illusory Benefit They
 3                         May Have

 4                                Tables: There is no valid reason for Google to have to undergo the

 5 burdens and expense of preserving the                          tables because the links contained in

 6 those tables are derived from other tables that Google is separately preserving. Seah Decl. ¶ 5. For

 7 example, if one of the underlying (and separately preserved) tables includes a link from identifier A

 8 to B, and another of the underlying (and separately preserved) tables includes a link from identifier

 9 A to C, then the                tables could include a link from identifier B to C. Id. Preserving the

10                tables would consume                of storage on a daily basis at a cost of         if

11 preservation continues for three years. Seah Decl. ¶ 5; Greenfield Decl. ¶¶ 11-12. In making

12 proportionality determinations, courts have routinely ruled that duplicative discovery obligations

13 are unduly burdensome and relieved litigants from these requirements. See, e.g., Glob. Tech., Inc.

14 v. Ningbo Swell Indus., Co., 2021 WL 5443272, at *4 (E.D. Mich. Apr. 27, 2021), reconsideration

15 denied, 2021 WL 2283745 (E.D. Mich. June 4, 2021) (“Plaintiff’s discovery requests, while

16 relevant, are disproportional to the needs of the case because the majority of these requests seek

17 duplicative information that Plaintiff already has in its possession.”). The same result is compelled

18 here.
19                Analytics Tables: The burdens of preserving            tables containing mappings of

20 identifiers relating to the Google Analytics product are also unwarranted and disproportionate. As

21 shown above, these Analytics tables presently contain over                                         of

22 data, requiring storage of more than                 over the course of a single year. Pothana Decl.

23 ¶¶ 5, 7. In addition to Google’s other preservation costs in this case, the expense of storing this

24 additional data would total approximately                  over three years. Greenfield Decl. ¶ 14.

25 The preservation of these       tables alone would also impose a large human capital burden: given

26 the complexity, it would require            of engineering hours. Pothana Decl. ¶ 7.

27          Preservation of the     Analytics tables brings immense burdens, but none of the benefits.

28 That is because these tables are not needed to work with the preserved data. See Gao Decl. Ex. 1

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 1 (8/4/22 Hr’g Tr.) at 106:16-18 (“[I]f you would need a mapping table to work with any of the data

 2 that is being exchanged in this case, that table has to be preserved.”). For any given sampled entry

 3 in Analytics logs that are being preserved, any mapping of UID/CID and Biscotti will be self-

 4 contained within the sampled data already. Pothana Decl. ¶ 6. The              Analytics tables contain

 5 mappings between Google Analytics User ID (UID) or client ID (CID) and device ID or Biscotti.

 6 Pothana Decl. ¶ 5. The mappings between UID/CID and Biscotti contained in those tables come

 7 from the data stored in Google Analytics logs sources, including the          Analytics logs subject to

 8 sampled preservation. Id. ¶ 6. Because the mappings between UID/CID and Biscotti contained in

 9 the        tables are sourced from these logs, the logs themselves contain the same mapping

10 information. Id. Although these tables also contain the mappings between UID/CID and device ID,

11 device IDs are only present for App events and are not received through the data flow at issue here

12 when users visit Google Analytics customer website. Id. ¶ 5. Plaintiffs thus would not need

13 additional mappings between UID/CID to device ID to read the preserved Analytics data or rely on

14 the data to support class certification. See, e.g., Gao Decl. Ex. 4 (May 3, 2022 Hr’g Tr.) at 13:6-8

15 (Plaintiffs: “I don’t think Plaintiffs affirmatively, for our class certification motion, intend to rely

16 on sampled data, or frankly, other data.”). As a result, there would be no benefit to preserving this

17 information.

18          Further, the tables apply to identifiers for users worldwide, including users whose data is not
19 sampled for preservation and users who are not in the class. As a result, the vast majority of the

20 mappings/linkings will not be of any use. Even if there were some limited benefit, it would

21 undoubtedly be outweighed by the massive burden of doing so. See, e.g., Lord Abbett, 2014 WL

22 5477639, at *3 (holding that paying $500 per month to store computers outweighed the likely benefit

23 of maintaining the computers); Finjan, Inc. v. ESET, LLC, 2018 WL 5263243, at *1 (S.D. Cal. Oct.

24 23, 2018) (“[T]he 2015 Amendments to Rule 26 made clear that ‘[r]elevancy alone is no longer

25 sufficient—discovery must also be proportional to the needs of the case.’” (quoting In re Bard IVC

26 Filters Prods. Liability Litig., 317 F.R.D. 562, 564 (D. Ariz. 2016)).

27

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 1                  2.       The Parties’ Respective Resources Do Not Justify The Onerous Burdens
                             Preserving The     Tables Requires
 2
            Plaintiffs have repeatedly assumed that because Google is a large company, no task or
 3
     burden is too much for it. That assumption squarely contravenes Rule 26. See Lickerish, Inc. v.
 4
     PicClick, Inc., 2022 WL 2812174, at *4 (N.D. Cal. July 18, 2022) (rejecting conclusory argument
 5
     that discovery sought would not be a “heavy burden” because defendant is a “multibillion dollar
 6
     Internet-based business [that] can determine when there are communications with its own servers.”);
 7
     Nyberg v. Zurich Am. Ins. Co., 2016 WL 11671468, at *4 (D. Kan. June 21, 2016) (“[C]onsideration
 8
     of the parties’ resources ‘does not . . . justify unlimited discovery requests addressed to a wealthy
 9
     party.’” (citing Fed. R. Civ. P. 26(b)(1) advisory committee’s note to the 2015 amendment));
10
     Lawson v. Spirit AeroSystems, Inc., 2020 WL 3288058, at *14 (D. Kan. June 18, 2020), aff’d, 2020
11
     WL 6939752 (D. Kan. Nov. 24, 2020) (“The court will not require Spirit to shoulder needless
12
     litigation expenses simply because it is a big company.”). In light of the burdensome preservation
13
     obligations Google is already undertaking, Google should not be required to absorb the additional
14
     disproportionate and burdensome storage, processing, and bandwid th resources to accommodate the
15
     vast amounts of data preserving these      tables requires.
16
            At the August 4 hearing, when discussing mapping tables, the Court found “determinative”
17
     that mapping tables are stored “in the ordinary course.” Gao Decl. Ex. 1 (8/4/22 Hr’g. Tr.) at 104:5-
18
     8. However, most mapping tables at Google are very short lived. Seah Decl. ¶¶ 4, 5; Pothana Decl.
19
     ¶¶ 4, 7. Accordingly, Google does not believe it is accurate to say that preserving all mapping tables
20
     is “not a big ask.” Gao Decl. Ex. 1 (8/4/22 Hr’g. Tr.) at 104:5-9. To the contrary, since these tables
21
     are not automatically retained for an extended period of time as part of Google’s routine business
22
     operations, preserving them now is extremely burdensome, requiring that Google store an enormous
23
     amount of data per year that Google would not otherwise store. Preserving        mapping and linking
24
     tables (excluding the                   and Analytics tables) increases the number of sources from
25
     which Google must preserve data by more than                  .
26
            Taken together, the burdens of preserving these tables clearly outweigh the yet -to-be-
27
     identified benefit of the preserved data, particularly after taking into account the vast quantities of
28

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 1 other data Google is preserving, and will continue to preserve, through this litigation. As the

 2 proportionality principle of Rule 26 recognizes, the court “must limit the frequency or extent of

 3 discovery … if it determines that the burden or expense of the proposed discovery outweighs its

 4 likely benefit.” Fed.R.Civ.P. 26(b)(2)(C)(iii); Noble Roman’s, Inc. v. Hattenhauer Distrib. Co., 314

 5 F.R.D. 304, 306 (S.D. Ind. 2016) (“[L]itigants’ legitimate interests in the control of expansive

 6 discovery and corralling the spiraling costs of litigation … led to a series of changes to the federal

 7 discovery rules over the last thirty plus years that emphasize the power—and duty—of the district

 8 courts actively to manage discovery and to limit discovery that exceeds its proportional and proper

 9 bounds.”). “Preservation efforts need not be heroic or unduly burdensome.” The Sedona Principles,

10 Third Edition, 19 SEDONA CONF. J. 1, Cmt. 5.e., 108 (2018); cf. Fed. R. Civ. P. 37(e) Adv. Comm.

11 Notes (2015) (“perfection in preserving all relevant electronically stored information is often

12 impossible”). “Evaluating the need to produce ESI requires that a balance be struck between the

13 burdens and need for ESI, taking into account the technological feasibility and realistic costs

14 involved.” The Sedona Principles at Cmt. 2.d.

15          In short, in light of the disproportionate burdens and limited utility of preserving the

16                 and Analytics tables, Rule 26 does not justify their preservation.

17                  3.      At A Minimum The Court Should Require Plaintiffs To Pay All Costs
                            Associated With Preservation Of The Tables
18
            To the extent that the Court requires the preservation, Plaintiffs should be required to assume
19
     the preservation costs given the unjustified nature of the burden and the lack of plausible basis for
20
     the data’s ongoing preservation. Case law supports this conclusion. See U.S. ex rel. Carter v.
21
     Bridgepoint Educ., Inc., 305 F.R.D. 225, 240 (S.D. Cal. 2015) (“[T]he cost of even accessible ESI’s
22
     production may be shifted to a party that has not shown its peculiar relevance to the claims and
23
     defenses at hand” if the proportionality factors make it appropriate) (citations omitted) (citing, inter
24
     alia, Shira A. Scheindlin & Daniel J. Capa, Electronic Discovery and Digital Evidence 314 (2009)
25
     (“Cost-shifting is available even for accessible data based on the proportionality factors set forth in
26
     Rule 26(b)(2)(C).”); see also Boeynaems v. LA Fitness Int'l, LLC, 285 F.R.D. 331, 341 (E.D. Pa.
27
     2012) (“Where the burden of discovery expense is almost entirely on the defendant, principally
28

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 1 because the plaintiffs seek class certification, then the plaintiffs should share the costs.”); id. (“If

 2 Plaintiffs’ counsel has confidence in the merits of its case, they should not object to making an

 3 investment in the cost of securing documents from Defendant and sharing costs with Defendant.”);

 4 Rowe Ent., Inc. v. William Morris Agency, Inc., 205 F.R.D. 421, 431 (S.D.N.Y. 2002) (requiring

 5 cost-shifting where the costs of the proposed discovery for defendants, even by plaintiffs’ estimates,

 6 ranged from $10,000 to $87,000).

 7           B.      Google’s Preservation Of Mapping And Linking Tables Is Consistent With The
                     Court’s Guidance And Orders
 8
             As set forth above, Google has conducted an extensive investigation to identify mapping and
 9
     linking tables in response to the Court’s May 20 and August 5, 2022 Preservation Orders to preserve
10
     “all mapping and linking tables.” Dkt. 587 at 8; Dkt. 657 at 7; see supra at 3 (citing Seah Decl. ¶¶
11
     2-4; Pothana Decl. ¶¶ 2-3). In addition, Google has analyzed the evidentiary record and Plaintiffs’
12
     arguments in support of their request that Google preserve this information.              Based on these
13
     investigations, Google has identified and will preserve         tables that contain a mapping or linking
14
     of user or device identifiers that are subject to preservation in one of the sources identified in the
15
     Preservation Orders. Seah Decl. ¶ 4; Pothana Decl. ¶ 3; Quaid Decl. ¶ 3; Halstead Decl. ¶6.
16
             In preserving “mapping and linking tables,” Google has relied on the Court’s statements at
17
     the August 4 hearing providing a framework to comply with its preservation obligations the Court
18
     imposed. In defining a mapping table in response to a query from Google’s counsel, the Court
19
     stated: “[A] mapping table is – is what it is. I mean it is mapping the IDs.” Gao Decl. Ex. 1 (8/4/22
20
     Hr’g Tr.) at 104:8-9. In addition, the Court stated that the mapping and linking tables that should
21
     be preserved are those that pertain to the data at issue in this case. See id. at 104:11-15 (“the mapping
22
     tables that … relate to the logs and fields that – that the parties have worked so intimately over these
23
     last 18 months. I don’t think it can be any more clear.”); id. at 107:3-8 (“I think my order again is
24
     perfectly clear … If it doesn’t relate to the data in this case, it is never going to come up. If it relates
25
     to the data in this case, it does.”); id. at 106:16-18 (“if you would need a mapping table to work with
26
     any of the data that is being exchanged in this case, that table has to be preserved.”). Accordingly,
27
     in light of these statements requiring a nexus between the mapping and linking tables and the data
28

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 1 at issue, Google does not understand the phrase “all mapping and linking tables” to refer to any

 2 table that provides a map or link between any type of value, including non-identifier values, and

 3 any other value stored in Google’s systems.

 4          Requiring preservation of all tables that provide a mapping or linking of identifiers (or other

 5 non-identifier values) that fall outside the scope of the Court’s preservation orders would be neither

 6 proportional nor reasonable. Indeed, such a broad and amorphous interpretation would require

 7 Google to conduct potentially limitless investigation of mapping and linking tables that would

 8 inevitably sweep in numerous tables (to the extent they exist) that have no nexus whatsoever to the

 9 data at issue in this case. Google is a large company, with over 160,000 employees working on

10 thousands of teams to support hundreds of different products and services, such as Google Meet,

11 Drive, Calendar, Nest, and Gmail, to name just a few. The vast majority of those products and

12 services have no conceivable relevance to Plaintiffs’ claims in this case.              Thus, even if,

13 hypothetically, the teams supporting one of these products used a “mapping table” or a “linking

14 table,” preserving such a table would serve no purpose. And investigating whether every one of

15 those teams maintains a “mapping table” or a “linking table” would require an astronomical amount

16 of time and human capital, particularly since Google does not have a company-wide definition of

17 the term “mapping table” or “linking table” that it could use to perform such an investigation. Seah

18 Decl. ¶ 3.     It is impossible to overestimate the burden and disruption such a wide-ranging
19 investigation would cause, and it would clearly contravene the proportionality principles the Court

20 must apply.

21          As the case law recognizes, proportionality requires a balancing of the benefit against the

22 burden. See, e.g., Hegarty v. Transamerica Life Ins. Co., 2021 WL 4899482, at *2 (N.D. Cal.

23 Oct. 21, 2021) (“[C]ourts are required to limit discovery if its burden or expense outweighs its likely

24 benefit.”). The benefit of preserving mapping tables or linking tables relating to any of the hundreds

25 of products that are clearly outside of the scope of this case is negligible, while the burden of such

26 an investigation to Google would be extreme. Apple Inc. v. Samsung Elecs. Co., 2011 WL 1938154,

27 at *3 (N.D. Cal. May 18, 2011) (finding requests for production unduly burdensome in part because

28 “it would require [defendant] to undertake a wide-ranging investigation to determine whether any

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 1 such documents exist”).

 2 IV.     CONCLUSION

 3         For the reasons stated, Google’s motion should be granted.

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